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JTW: 05.22.20
MD USAO 2017R00483

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

- UNITED STATES OF AMERICA *
* CRIMINAL NO.
V. *
* (Conspiracy to Distribute and Possess
ANDRE RICARDO BRISCOE, * with the Intent to Distribute
aka “Poo,” * Controlled Substances, 21 U.S.C.
* § 846; Possession with Intent to
Defendant * Distribute Controlled Substances,
* 21 U.S.C. § 841; Possession of a
* Firearm and Ammunition by a
* Prohibited Person, 18 U.S.C.
* § 922(g)(1); Aiding and Abetting,
* 18 U.S.C. § 2; and Forfeiture, 21
* U.S.C. § 853, 18 U.S.C. § 924(d), 28
* U.S.C. § 2461)
REEKEEK
INFORMATION
COUNT ONE

(Conspiracy to Distribute and Possess with the Intent to Distribute Controlled Substances)
The United States Attorney for the District of Maryland charges that:
Beginning no later than March 2015 and continuing until in or about June 2015, in the
District of Maryland and elsewhere, the defendant,

ANDRE RICARDO BRISCOE,
aka “Poo,”

did knowingly combine, conspire, confederate, and agree with others, known and unknown to
the United States, to distribute and possess with the intent to distribute 100 grams or more of a
mixture and substance containing a detectable amount of heroin, a Schedule I controlled

substance, in violation of 21 U.S.C. § 841.

21 U.S.C. § 846

 
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COUNT TWO
(Possession with Intent to Distribute Controlled Substances)
The United States Attorney for the District of Maryland further charges that:
On or about May 27, 2015, in the District of Maryland, the defendant,

ANDRE RICARDO BRISCOE,
aka “Poo,”

did knowingly and intentionally possess with intent to distribute 100 grams or more of a mixture

or substance containing a detectable amount of heroin, a Schedule I controlled substance.

21 U.S.C. § 841(a)(1)
18 U.S.C. §2

 
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COUNT THREE
(Possession of a Firearm and Ammunition by a Prohibited Person)
The United States Attorney for the District of Maryland further charges that:
On or about May 27, 2015, in the District of Maryland, the defendant,

ANDRE RICARDO BRISCOE,
aka “Poo,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed a firearm and ammunition, to wit: one Para-Ordnance,
.45 caliber pistol bearing serial number RK 8433, and five rounds of .45 caliber Winchester brand

ammunition, and the firearm and ammunition were in and affecting commerce.

18 U.S.C. § 922(g)(1)
18 U.S.C. § 2

 
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FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further finds that:

1. Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, notice is
hereby given to the defendant that the United States will seek forfeiture as part of any sentence in
accordance with 21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c), as a result of the
defendant’s convictions under Counts One through Three of this Information.

Narcotics Forfeiture

2. Specifically, upon conviction of the offenses set forth in Counts One and Two of

this Information, the defendant,

ANDRE RICARDO BRISCOE,
aka “Poo,”

shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a):
a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of such offense; and,
b. any property used, or intended to be used, in any manner or part, to commit,
or to facilitate the commission of, any such offense.
Firearms Forfeiture
3. Upon conviction of the offense set forth in Count Three of this information, the
defendant,

ANDRE RICARDO BRISCOE,
aka “Poo,”

shall forfeit to the United States the firearm involved in the commission of the offense, that is

one Para-Ordnance, .45 caliber pistol bearing serial number RK 8433, and ammunition.

 
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Substitute Assets
4. If, as a result of any act or omission of any defendant, any property subject to

forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot be subdivided without

difficulty,

the United States, pursuant to 21 U.S.C. § 853(p), shall be entitled to forfeiture of substitute
property up to the value of the forfeitable property described above.
21 U.S.C. § 853

18 U.S.C. § 924(d)
28 U.S.C. § 2461

Robert K. Hur
United States Attorney

Date: 5/ Z /2020 Kobe Hac [rps

 
